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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                             CASE NO. 21-21961-CIV-ALTONAGA/Torres

  ALAN DERSHOWITZ,

           Plaintiff,

  v.

  NETFLIX, INC., LEROY & MORTON
  PRODUCTIONS LLC, RADICALMEDIA LLC,
  LISA BRYANT and JOSEPH BERLINGER,

           Defendants.
                                                          /

           IT IS HEREBY STIPULATED AND AGREED, by and among the undersigned attorneys

  for Plaintiff Alan Dershowitz and Defendants Netflix, Inc., RadicalMedia LLC, Leroy & Morton

  Productions LLC, Lisa Bryant, and Joseph Berlinger (together “Defendants”) that the above-

  captioned action is dismissed with prejudice.

           For the avoidance of doubt, Plaintiff hereby dismisses all of his claims against Defendants

  with prejudice, and Defendants hereby dismiss their counter-claim against Plaintiff with prejudice.

  Dated: March 14, 2022

 NESENOFF & MILTENBERG, LLP                         DAVIS WRIGHT TREMAINE LLP

 By:   Philip A. Byler                              By:
       Philip A. Byler                                    Rachel F. Strom

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